Case 1:15-cv-07433-LAP Document 1198-8 Filed 01/27/21 Page 1 of 11




                   EXHIBIT 5
            (File Under Seal)
               Case 1:15-cv-07433-LAP Document 1198-8 Filed 01/27/21 Page 2 of 11


Sandra Perkins

From:                              Meredith Schultz
Sent:                              Friday, May 20, 2016 4:00 PM
To:                                Laura Menninger; Sigrid McCawley
Cc:                                Jeff Pagliuca; Nicole Simmons; Brenda Rodriguez; Paul Cassell (cassellp@law.utah.edu);
                                   'brad@pathtojustice.com' (brad@pathtojustice.com)
Subject:                           RE: Giuffre v. Maxwell [Centura Health Release]


Laura,

Today I spoke with various individuals at Centura Health, which describes itself as “the region’s largest health care
network” on its website. Based on those conversations, it is also our understanding that records concerning Ms. Giuffre
possessed by Centura Health are not necessarily co‐extensive with those possessed by Dr. Olson’s office. However, it’s
my understanding that the records Centura Health possess that are not co‐extensive with those possessed by Dr. Olson’s
office are records, instead, pertaining to different providers within the Centura Health network. It was explained to me
that Centura owns multiple hospitals and facilities, and employs multiple physicians. Therefore, if a patient of Dr. Olson
was treated by another provider within the Centura Health network, that patient’s treatment record would not be part
of Dr. Olson’s office records. Instead, it would be part of Centura Health’s records and that provider’s records. By way of
example, it was further explained to me that if Ms. Giuffre sought treatment from an ear nose and throat (ENT)
physician, and the ENT was employed by a facility within the Centura Health network, those ENT records would not be
possessed by Dr. Olson, but would be possessed by Centura Health (and the treating ENT). Accordingly, based on my
understanding of my conversations with Centura Health, we have received and produced all records pertaining to Dr.
Olson’s treatment of Ms. Giuffre, and that any records pertaining to Ms. Giuffre that Centura Health possesses that Dr.
Olson’s office does not also possess, do not pertain to Dr. Olson’s treatment of Ms. Giuffre, but, instead, pertain to
treatment by other providers within the network. In short, it’s my understanding that, while we may not have records
from other providers within the Centura Health network, we have all of Dr. Olson’s records.

Notwithstanding the foregoing, and in an abundance of caution, I am in the process of having Ms. Giuffre sign the
release you provided, which will then be faxed to the Centura Health records office. If you have a different
understanding than the above, please let me know, and please let me know the individual with whom you spoke.

Thanks,

Meredith



Meredith L. Schultz
BOIES, SCHILLER & FLEXNER LLP
401 East Las Olas Blvd., Suite 1200
Fort Lauderdale, FL 33301
Phone: 954-356-0011 ext. 4204
Fax: 954-356-0022
http://www.bsfllp.com

From: Laura Menninger [mailto:lmenninger@hmflaw.com]
Sent: Thursday, May 19, 2016 5:19 PM
To: Sigrid McCawley; Meredith Schultz


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                Case 1:15-cv-07433-LAP Document 1198-8 Filed 01/27/21 Page 3 of 11
Cc: Jeff Pagliuca; Nicole Simmons; Brenda Rodriguez
Subject: Giuffre v. Maxwell [Centura Health Release]

In speaking to counsel for Centura Health, the provider of Dr. Olson’s services, I have learned that the records that are
“possessed” by Centura Health are not co‐extensive with those “possessed” by Dr. Olson. The records you previously
provided related to his care are his alone and do not encompass those in Centura’s custody and control.

The attached release was provided to me by Centura Health and needs to be signed by your client and returned to me as soon
as possible, given Dr. Olson’s upcoming deposition.

‐Laura




                Laura A. Menninger
                Haddon, Morgan and Foreman, P.C.
                150 East 10th Avenue
                Denver, Colorado 80203
                Main 303.831.7364 FX 303.832.2628
                lmenninger@hmflaw.com
                www.hmflaw.com


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manner. Thank you.




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               Case 1:15-cv-07433-LAP Document 1198-8 Filed 01/27/21 Page 4 of 11


Sandra Perkins

From:                              Meredith Schultz
Sent:                              Monday, May 23, 2016 9:46 AM
To:                                Laura Menninger; Sigrid McCawley
Cc:                                Jeff Pagliuca; Nicole Simmons; Brenda Rodriguez; Paul Cassell (cassellp@law.utah.edu);
                                   'brad@pathtojustice.com' (brad@pathtojustice.com)
Subject:                           RE: Giuffre v. Maxwell [Centura Health Release]
Attachments:                       Centura Health Fax Transmittal Document.pdf


Laura,

To follow up on my email below, attached please find the signed release form that has been faxed to the records
department for Centura Health.

Thanks,

Meredith

Meredith L. Schultz
BOIES, SCHILLER & FLEXNER LLP
401 East Las Olas Blvd., Suite 1200
Fort Lauderdale, FL 33301
Phone: 954-356-0011 ext. 4204
Fax: 954-356-0022
http://www.bsfllp.com

From: Meredith Schultz
Sent: Friday, May 20, 2016 4:00 PM
To: 'Laura Menninger'; Sigrid McCawley
Cc: 'Jeff Pagliuca'; 'Nicole Simmons'; 'Brenda Rodriguez'; Paul Cassell (cassellp@law.utah.edu); 'brad@pathtojustice.com'
(brad@pathtojustice.com)
Subject: RE: Giuffre v. Maxwell [Centura Health Release]

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of Dr. Olson’s office records. Instead, it would be part of Centura Health’s records and that provider’s records. By way of
example, it was further explained to me that if Ms. Giuffre sought treatment from an ear nose and throat (ENT)
physician, and the ENT was employed by a facility within the Centura Health network, those ENT records would not be
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understanding of my conversations with Centura Health, we have received and produced all records pertaining to Dr.
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Olson’s office does not also possess, do not pertain to Dr. Olson’s treatment of Ms. Giuffre, but, instead, pertain to

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                Case 1:15-cv-07433-LAP Document 1198-8 Filed 01/27/21 Page 5 of 11
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release you provided, which will then be faxed to the Centura Health records office. If you have a different
understanding than the above, please let me know, and please let me know the individual with whom you spoke.

Thanks,

Meredith



Meredith L. Schultz
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401 East Las Olas Blvd., Suite 1200
Fort Lauderdale, FL 33301
Phone: 954-356-0011 ext. 4204
Fax: 954-356-0022
http://www.bsfllp.com

From: Laura Menninger [mailto:lmenninger@hmflaw.com]
Sent: Thursday, May 19, 2016 5:19 PM
To: Sigrid McCawley; Meredith Schultz
Cc: Jeff Pagliuca; Nicole Simmons; Brenda Rodriguez
Subject: Giuffre v. Maxwell [Centura Health Release]

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provided related to his care are his alone and do not encompass those in Centura’s custody and control.

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‐Laura




                Laura A. Menninger
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                Denver, Colorado 80203
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                lmenninger@hmflaw.com
                www.hmflaw.com


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                                                                2
               Case 1:15-cv-07433-LAP Document 1198-8 Filed 01/27/21 Page 6 of 11
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manner. Thank you.




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Case 1:15-cv-07433-LAP Document 1198-8 Filed 01/27/21 Page 7 of 11
Case 1:15-cv-07433-LAP Document 1198-8 Filed 01/27/21 Page 8 of 11
Case 1:15-cv-07433-LAP Document 1198-8 Filed 01/27/21 Page 9 of 11
               Case 1:15-cv-07433-LAP Document 1198-8 Filed 01/27/21 Page 10 of 11


Sandra Perkins

From:                            Meredith Schultz
Sent:                            Wednesday, May 25, 2016 5:52 PM
To:                              Laura Menninger (lmenninger@hmflaw.com)
Cc:                              Sigrid McCawley; Paul Cassell (cassellp@law.utah.edu); 'brad@pathtojustice.com'
                                 (brad@pathtojustice.com); Sandra Perkins; jpagliuca@hmflaw.com
Subject:                         Centura Health Patient Authorization to Disclose Protected Health Information
Attachments:                     SC45416052604280.pdf


Laura,

As an update from my last email on the same, I was informed that the form in question needed to have the St. Thomas
More hospital specified, and that, instead of checking the “fax” box, I needed to check the box for mailing records.
Therefore, I sent them the corrected form (attached). My assistant has been in communication with the records
personnel, who have confirmed that the release is valid, and that they are processing the request. We have obtained
some Centura records, which will go out shortly.

Thanks,

Meredith


Meredith L. Schultz
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Fort Lauderdale, FL 33301
Phone: 954-356-0011 ext. 4204
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Case 1:15-cv-07433-LAP Document 1198-8 Filed 01/27/21 Page 11 of 11
